                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 In re:      DeAnne Niblack                          ) Case Number: 17-16570
                                                     ) Chapter 13 Proceedings
                  Debtor.                            ) Judge Arthur I. Harris

 TRUSTEE’S OBJECTION TO DEBTOR’S MOTION TO MODIFY CHAPTER 13 PLAN

       Now comes LAUREN A. HELBLING, the duly appointed and qualified Standing Chapter
13 Trustee herein, by and through counsel, and hereby files this objection to the motion to modify
Chapter 13 plan of the Debtor(s) filed on or about April 11, 2020. In support of her objection, the
Trustee makes the following representations to the Court:

1.        The Trustee objects to the Debtor’s motion for the following reasons:

       a.       The proposed plan would not run 60 months, which is the applicable commitment
period for this case. According to the Trustee’s calculations $9,000.00 would have to be offered to
unsecured creditors in order for the plan to run 60 months.

2.     The Trustee reserves the right to amend and/or supplement her objection, should additional
information be provided.

       WHEREFORE your Trustee, being a proper party in interest, hereby moves this Honorable
Court to sustain her objection and deny the motion of the Debtor(s) for the reasons cited.



                                                /S/ Philip D. Lamos
                                                PHILIP D. LAMOS (#0066844)
                                                Attorney for Lauren A. Helbling, Chapter 13 Trustee
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 17-16570-aih        Doc 106     FILED 05/06/20      ENTERED 05/06/20 12:16:09        Page 1 of 2
                                 CERTIFICATE OF SERVICE

I certify that on May 6, 2020, a true and correct copy of the Trustee’s Objection to Motion to
Modify Chapter 13 Plan was served:

Via the Court’s Electronic Case Filing System on these entities and individuals who are listed on
the Court’s Electronic Mail Notice List:

         Renee Heller, on behalf of DeAnne Niblack, Debtor at rhlegal@aol.com

And by regular U.S. mail, postage prepaid, on:

         DeAnne Niblack, Debtor at 1097 Plainfield, Cleveland, Ohio 44121


                                          /S/ Philip D. Lamos
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 17-16570-aih      Doc 106    FILED 05/06/20     ENTERED 05/06/20 12:16:09         Page 2 of 2
